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NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 24-mj-00094-SH-1
WAIVER OF A PRELIMINARY
Morgan Womack, HEARING
Defendant(s).

I understand that I have been charged with an offense in a criminal complaint filed in this
court, or charged with violating the terms of probation or supervised release in a petition filed in
this court. A magistrate judge has informed me of my right to a preliminary hearing under Fed.
R. Crim. P. 5.1, or to a preliminary hearing under Fed. R\ Crim. P. 32.1.

I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R.

Crim. P. 32.1.

Date: 2fappor4 to

Detendant Ce L/

LEE

Attomey for Deferdant —

1A on Complaint Detention (9/2021)
